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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                    CASE NO. 14‐20052‐CR‐MARTINEZ/GOODMAN

  UNITED STATES OF AMERICA,

  vs.

  RODOLFO SANTAYA,

        Defendant.
  ___________________________________/

                AMENDED1 REPORT AND RECOMMENDATIONS ON

                         COUNSEL’S CJA VOUCHER REQUEST

        On October 6, 2014, court‐appointed defense counsel Emmanuel Perez

  (“Counsel”) submitted voucher application FLS 14 1724 with appended time sheets

  requesting $22,600.00 as final payment for attorney’s fees and costs pursuant to the

  Criminal Justice Act (the “CJA”), 18 U.S.C. § 3006A. Counsel supplied detailed time

  entries and a Motion to Exceed CJA Cap (the “Motion”) in support of the application.

        On January 30, 2014, Counsel was appointed to represent Defendant Rodolfo

  Santaya (“Santaya”) pursuant to the CJA. [ECF No. 14]. Counsel did not submit a

  proposed budget for the representation, or request approval to exceed the $9,800.00 cap

  on representation in a felony case pursuant to the CJA.

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         This Report and Recommendations is amended to correct the typographical error
  in the conclusion on page 7, which originally listed the approved compensation as
  “$22,500.00” instead of the proper amount that the Undersigned noted on page 2:
  “$22,550.00.”
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        Defendant’s trial lasted six days, beginning July 21, 2014 and concluding on July

  28, 2014. Counsel now seeks $22,600.00 in compensation for his representation of

  Santaya.2 Of that, $15,849.40 is for attorney’s fees.3 The requested amount exceeds the

  $9,800.00 statutory maximum for attorney’s fees in non‐capital felony cases at the trial

  level under the CJA. See Guidelines, Vol. 7A, Chapter 2, § 230.23.20. On November 14,

  2014, United States District Judge Jose E. Martinez referred the voucher application to

  the Undersigned for a Report and Recommendations as to whether the requested fees

  are appropriate. [ECF No. 224].

         Having reviewed the voucher and the pertinent portions of the record, the

  Undersigned respectfully recommends that the voucher request be approved, as

  modified by the CJA Administrator for a total amount of $22,550.00, in accordance

  with the opinion below.

  I.    CRIMINAL JUSTICE ACT GUIDELINES

        The   United    States   Judicial   Conference   developed   the   Guidelines   for

  Administering the CJA and Related Statutes (the “Guidelines”) to assist courts in

  applying the provisions of the CJA. See In re Burger, 498 U.S. 233, 234 (1991). The CJA

  plan for the Southern District of Florida explicitly states that “[p]ayment of fees and

  2     As discussed below, the CJA Administrator decreased this amount slightly,
  based on review of Counsel’s time records.

  3    As noted below, this amount was actually increased based upon review by the
  CJA Administrator.


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  expenses shall be made in accordance with the provisions of the United States Judicial

  Conferences guidelines for the administration of the Criminal Justice Act.” See CJA

  Plan, Southern District of Florida.

         The CJA provides that an appointed attorney shall be compensated for time

  expended in court and for time “reasonably expended out of court” at the conclusion of

  CJA representation. 18 U.S.C. § 3006A(d)(1). The CJA also provides for payment of

  “expenses reasonably incurred.” Id. The district court, as the body empowered to “fix”

  compensation of CJA‐appointed Counsel, has the statutory authority and discretion to

  determine what is a reasonable expense or use of billable time. 18 U.S.C. § 3006A(d)(5);

  U.S. v. Griggs, 240 F.3d 974 (11th Cir. 2001).

         To recommend a fee exceeding the statutory maximum, the district court must

  first certify that the case involves “complex” or “extended” representation. 18 U.S.C. §

  3006A(d)(3). The court may find a case “complex” if the “legal or factual issues . . . are

  unusual, thus requiring more time, skill and effort by the lawyer than would normally

  be required in an average case.” Guidelines, Vol. 7A, Chapter 2, § 230.23.40(b). A case is

  “extended” if “more time is reasonably required for total processing than the average

  case.” Guidelines, Vol. 7A, Chapter 2, § 230.23.40(c). After certifying that the case is

  either “complex” or “extended,” the district court must determine whether the amount

  sought is necessary to provide Counsel with fair compensation.




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        Additionally, the Guidelines recommend case budgeting for cases that require

  more than 300 attorney hours or $30,000 in attorney’s fees. Guidelines, Vol. 7A, Chapter

  2, § 230.26.10. In such instances, “counsel should submit a proposed initial litigation

  budget for court approval, subject to modification in light of facts and developments

  that emerge as the case proceeds.” Guidelines, Vol. 7A, Chapter 2, § 230.26.20 (emphasis

  added). The case budgeting provision for capital cases also states that “[c]ase budgets

  should be re‐evaluated when justified by changed or unexpected circumstances, and

  should be modified by the court where good cause is shown.” Guidelines, Vol. 7A,

  Chapter 6, § 640.20(f). While the Guidelines implicitly endorse the wisdom of modifying

  the budget due to changed circumstances, there is no explicit requirement for

  submitting modified case budgets.

  II.   BACKGROUND

            A. Facts of the Case

        Santaya was charged by indictment with Conspiracy to Commit Health Care

  Fraud and Wire Fraud (Count 1); Conspiracy to Pay and Receive Bribes and Kickbacks

  in Connection with a Federal Health Care Benefit Program (Count 3); and Receipt of

  Bribes and Kickbacks in Connection with a Federal Health Care Benefit Program

  (Counts 4 and 5). [ECF No. 3]. The Indictment also charged two co‐defendants as part of

  an eight year conspiracy to defraud the Medicare program of tens of millions of dollars.

  [Id. at 6]. Santaya was a certified nurse’s assistant at a community mental health center,


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  where he was accused of accepting bribes and kickbacks to refer Medicare beneficiaries

  he knew did not qualify for partial hospitalization program benefits. [Id. at pp. 6‐7].

              B. Initial Budget Proposal

         There was no initial budget proposal in this matter. Counsel was appointed for

  the purpose of representing Santaya in a felony matter at the trial court level, which,

  pursuant to the CJA Guidelines, would normally be subject to a $9,800.00 statutory

  maximum for attorney’s fees. Guidelines, Vol. 7A, Chapter 2, § 230.23.20. This amount

  is below the amount that would warrant an initial budget proposal under the

  Guidelines. See Guidelines, Vol. 7A, Chapter 2, § 230.26.10.

              C. CJA Voucher Request

         Counsel submitted the instant CJA voucher request on October 6, 2014. Counsel

  sought $22,600.00 for his representation of Santaya from the outset of the case through

  trial. This includes 51.4 hours for time spent in court and 127.3 hours for time spent out‐

  of‐court. In addition, the request includes $50.00 in travel expenses and $285.00 in other

  expenses.

              D. Voucher Amount – Administrator’s Review

         The Court’s CJA administrator first reviewed the voucher for compliance with

  the Guidelines and mathematical accuracy. The administrator did make some changes

  to Counsel’s CJA voucher request, decreasing the number of hours spent in court by 1.5

  hours, and increasing the number of hours spent out‐of‐court by 1.5 hours. These


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  changes had no impact on the overall amount of the request, however the CJA

  administrator did reduce the “other expenses” by $50.00, disapproving of Counsel

  paying a $50.00 “Subpoena Local Rush Fee” one month prior to trial. Thus, the final

  amount of the voucher after the CJA administrator’s review was $22,500.00.

  III.     ANALYSIS

         A. This Case Was Complex

           In order to recommend that the District Court compensate Counsel in an amount

  that exceeds the statutory maximum, I must first find that this case was either complex

  or extended. After reviewing the record, there is no doubt that this case was complex.

  The nature of the case, number of defendants, volume of materials, length of the trial,

  and number of docket entries lead the Undersigned to conclude that the cost of fair

  representation exceeds the statutory maximum.

         B. In‐Court Hours

           Counsel sought compensation for 51.4 in‐court hours. The CJA administrator

  reviewed the request and decreased the number of hours by 1.5 to 49.9 hours. Given the

  length of the trial, I find this amount to be reasonable. I recommend Counsel be paid

  the full $6,250.60 for 49.9 in‐court hours. 4




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         2.3 of the hours approved by the CJA administrator were billed between 9/1/2013
  and 2/28/2014, for which the applicable hourly rate per the CJA Guidelines is $110/hour;
  47.6 of the hours approved by the CJA administrator were billed after 3/1/2014, for
  which the applicable hourly rate per the CJA Guidelines is $126/hour.
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      C. Out‐of‐Court Hours and Expenses

            Counsel sought 127.3 hours for time spent out of court. The CJA administrator

  reviewed this request and increased the number of hours by 1.5 to 128.8 hours. Given

  the complex nature of this case, I have no doubt that Counsel spent the amount of time

  he requests working on this case. Accordingly, I find that all of Counsel’s time entries

  are appropriate. Thus, in the absence of other factors, Counsel should receive $16,014.40

  for 128.8 out‐of‐court hours.5

            Counsel further requested $285.00 in other expenses, all of which were for

  service of subpoenas. The CJA administrator disapproved of one of these charges,

  reducing the other expenses by $50.00 to a total of $235.00. Having reviewed Counsel’s

  request for other expenses and considering the CJA administrator’s correction, the

  Undersigned finds the request to be reasonable. Thus, Counsel should be compensated

  $235.00 for “Other Expenses.”

            In addition, having reviewing Counsel’s request for travel expenses, totaling

  $50.00, the Undersigned finds the request to be reasonable.

      IV.      CONCLUSION

            For the reasons stated above, the Undersigned respectfully recommends that

  Counsel be paid $22,550.00 as fair and final compensation for his work on this case.

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         13.4 of the hours approved by the CJA administrator were billed between
  9/1/2013 and 2/28/2014, for which the applicable hourly rate per the CJA Guidelines is
  $110/hour; 115.4 of the hours approved by the CJA administrator were billed after
  3/1/2014, for which the applicable hourly rate per the CJA Guidelines is $126/hour.
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     V.       OBJECTIONS

          Pursuant to 28 U.S.C. § 636(b)(1) and Local Magistrate Rule 4(b), the parties have

  14 days from the date of this Report and Recommendations to serve and file written

  objections, if any, with the Honorable Jose E. Martinez, United States District Judge

  assigned to this case. Each party may file a response to the other party’s objection

  within 7 days of the objection. Failure to file timely objections shall bar the Parties from

  a de novo determination by the District Court of an issue covered in this Report and

  Recommendations and bar the Parties from attacking on appeal the factual findings

  contained herein. LoConte v. Dugger, 847 F.2d 745, 749‐50 (11th Cir. 1988), cert. denied,

  488 U.S. 958 (1988).

          RESPECTFULLY RECOMMENDED, in Chambers, in Miami, Florida, January

  21, 2015.




  Copies furnished to:
  All Counsel of Record
  Hon. Jose E. Martinez




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